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 3
                               UNITED STATES DISTRICT COURT
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                                     DISTRICT OF NEVADA
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 7   UNITED STATES OF AMERICA,                  )         2:06-cr-00251-PMP-GWF
                                                )
 8                    Plaintiff,                )
                                                )                     ORDER
 9   vs.                                        )
                                                )
10   JEROME WILLIAMS,                           )
                                                )
11                    Defendant.                )
                                                )
12

13           Before the Court for consideration is Defendant Jerome Williams’ Motion
14   Requesting a Second 28 U.S.C. § 2255 Petition (Doc. #130) filed December 30, 2013.
15           On February 23, 2014, Plaintiff United States filed a Response (Doc. #133) in
16   opposition to Defendant’s motion. Therein, the Government contends first that Defendant
17   Williams’ motion to vacate is untimely. Second, the Government argues that Defendant’s
18   motion should be denied on the merits. Before ruling on the question of timeliness of
19   Defendant’s motion to vacate, the Court deems it appropriate to permit Defendant Williams
20   to respond to the Government’s argument in this regard.
21           IT IS THEREFORE ORDERED that Defendant Jerome Williams shall have to
22   and including April 30, 2014 within which to respond to the Government’s argument that
23   Defendant’s Motion to Vacate (Doc. #130) is untimely.
24           DATED: March 31, 2014.
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                                                    PHILIP M. PRO
                                                    United States District Judge
